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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No.17-cr-00008-WJM-1

 UNITED STATES OF AMERICA,

                      Plaintiff,

 v.

 1.     GUY M. JEAN-PIERRE,

                      Defendant.


                           DEFENDANT JEAN-PIERRE’S
                    MOTION FOR BELOW-GUIDELINES SENTENCE


        THE DEFENDANT, GUY M. JEAN-PIERRE, by and through his attorney, Clifford

 J. Barnard, and pursuant to D.C.COLO.LCrR 32.1, respectfully moves this Court to impose

 a below-guidelines sentence based on an “individual assessment” of the § 3553(a) factors

 applicable to him. A below-guidelines sentence would be sufficient to fulfill all sentencing

 goals and requirements set forth in 18 U.S.C. § 3553(a). In support of this request, Mr.

 Jean-Pierre submits the following authority, facts and documentation:

 I.     Sentencing Calculations.

        Mr. Jean-Pierre was found guilty by a jury to Count 28 of 29 counts, which charged

 him with conspiracy, mail fraud, wire fraud, securities fraud and money laundering.

 Probation has calculated Mr. Jean-Pierre’s advisory sentencing guidelines range to be 235

 – 240 months and has recommended a below-guidelines sentence of 120 months based

 primarily on a need for a non-disparate sentence with co-conspirators William Sears and

 Scott Dittman. (ECF #225-1, P.S.I.R. Exhibit A at R-1 and R-3 – 4.) The government in its
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 Amended Post Trial Statement of the Case calculated Mr. Jean-Pierre’s sentencing

 guidelines range to be 235 – 293 months and has not yet made a recommendation as to

 Mr. Jean-Pierre’s sentence. (ECF # 217.) Mr. Jean-Pierre in his Sentencing Statement

 calculated his guidelines range to be 97-121 months. (ECF # 222.)

 II.    18 U.S.C. § 3553(a) Supports a Below-Guidelines Sentence for Mr. Jean-Pierre.

        A.     The History and Circumstances of Mr. Jean-Pierre.

               1.     Mr. Jean-Pierre’s Role in the Offense Was Less than the Roles of
                      Co-defendants Sears and Dittman.

        Mr. Jean-Pierre‘s role in the offense was minor compared to the roles of co-

 conspirators Sears and Dittman.1 Mr. Jean-Pierre was an active participant in the

 conspiracy for a limited period of time. After Mr. Jean-Pierre had been in a car accident in

 December, 2012, had moved to the Dominican Republic and had limited or terminated his

 involvement in the conspiracy, Sears and Dittman entirely excluded him from the

 conspiracy in the summer of 2013.2 Thus, Mr. Jean-Pierre voluntarily ceased to participate

 in the criminal activity before its discovery by law enforcement.3 During the time that Mr.


        1
         This is a valid sentencing consideration. See United States v. Smart, 518 F.3d 800
 (10th Cir.2008) (where the defendant was convicted after a trial of inducing a minor to
 engage in sexually explicit conduct for the purpose of producing videotapes in violation of
 18 U.S.C. 2251(a), and the guidelines were 168 to 210 months, a sentence to 120 months
 was affirmed because the defendant was less culpable than the co-defendant who
 received 120 months, even though the co-defendant pled guilty).
        2
             This is a valid sentencing consideration. See United States v. Adelson 441
 F.Supp.2d 506 (S.D.N.Y. 2006) (in securities fraud case, a below guideline sentence was
 imposed in part because the defendant “did not participate in the fraudulent conspiracy
 until its final months”).
        3
         This is a valid sentencing consideration. See United States v. Numemacher, 362
 F.3d 682 (10th Cir. 2004) (where the defendant possessed and distributed child
 pornography on his website for a short time but destroyed all pornography before learning

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 Jean-Pierre was involved in the conspiracy, Sears and Dittman obtained approximately $2

 million from the sale of stocks. After Mr. Jean-Pierre was no longer active in the

 conspiracy, Sears and Dittman then obtained an additional $10 million in proceeds from

 the sale of stock. The remaining $10 million in loss after Mr. Jean-Pierre was excluded

 from the conspiracy were not funds: (1) obtained in the scope of any agreement Mr. Jean-

 Pierre had entered into to jointly undertake the particular criminal activity; and (2) was not

 reasonably foreseeable in connection with that criminal activity. Thus, Mr. Jean-Pierre was

 responsible for only part of loss.4 Furthermore, Mr. Jean-Pierre received only approximately

 $34,000 in total from Sears or Dittman for his actions. Thus, Mr. Jean-Pierre received only

 a small share of the proceeds from the conspiracy.5 Because Mr. Jean-Pierre’s “personal

 gain” was approximately $34,000 while the amount of loss is, according to Mr. Jean-

 Pierre’s calculations, approximately $2 million, he qualifies as a minor participant and his

 role in the conspiracy warrants a lesser sentence to distinguish him from Sears and

 Dittman, the higher-ups, who deserve more time.6



 of the investigation and where he cooperated with the FBI, his conduct “atypical” and
 justified a downward departure).
        4
          This is a valid sentencing consideration. See United States v. Arutunoff, 1 F.3d
 1112 (10th Cir.1993) (the district court may depart downward if a defendant was not
 involved in all of his co-conspirators efforts to defraud investor, causing the loss figure to
 overstate the defendant's culpability).
        5
           This is a valid sentencing consideration. See United States v. Stuart, 22 F.3d 76
 (3d Cir.1994) (although face value of bonds was $129,000 which determined the offense
 level, the small profit actually made might warrant a downward departure by analogy to §
 2F1.1 which states that the strict application of the loss table can overstate the seriousness
 of the offense).
        6
         This is a valid sentencing consideration. See United States v. Jimenez-Gutierrez,
 491 F.3d 923 (8th Cir.2007) (where the defendant pled guilty to conspiracy to distribute

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                  2.   Mr. Jean-Pierre’s Loss of Reputation and Loss of Law License.

        Mr. Jean-Pierre has already been punished by collateral consequences such as the

 loss of his professional reputation, the loss of his licenses to practice law and the stigma

 of conviction. Furthermore, a criminal conviction “often serves as a de facto informal basis

 for job denial.” Wayne A Logan, “Informal Collateral Consequences” 88 Washington Law

 Review 1103, 1107 (2013). Conviction “can function to disrupt or sever social ties that can

 be key to finding employment.” Id. at 1108. A criminal conviction “serves as the greatest

 impediment to securing housing.” Id. (“in turn homelessness in itself, in addition to making

 …job searches far more difficult increases the likelihood of subsequent arrest and

 conviction”).7



 more than fifty grams of methamphetamine and where the guidelines were 188-220
 months, the court’s sentence of 96 months was proper in part because the court could
 determine that a guideline sentence was too harsh because it did not account for the fact
 that higher-ups in the conspiracy deserved much more time).
        7
           This is a valid sentencing consideration. See United States v. Anderson, 533 F.3d
 623 (8th Cir.2008) (where the defendant was convicted of insider trading and money
 laundering and the guidelines were 46-57 months, the district court’s sentence of 30
 months was not unreasonable in part because of collateral consequences where the
 district court “specifically addressed other ways in which the defendant had suffered
 atypical punishment such as the loss of his reputation and his company, the ongoing case
 against him from the Securities and Exchange Commission and the harm visited upon him
 as a result of the fact that his actions brought his wife and friend into the criminal justice
 system.”); United States v. Vigil, 476 F. Supp.2d 1231, 1235 (D.N.M. 2007) (finding
 variance appropriate where the defendant in a public corruption case was already
 collaterally punished by loss of his position, loss of his reputation, widespread media
 coverage of his case, and the emotional toll of two lengthy, public trials); and United States
 v. Mateo, 299 F. Supp.2d 201, 209-10 (S.D.N.Y. 2004) (“beyond the offender’s actual
 deprivation of liberty when incarcerated, a host of other penalties and burdens always
 attend criminal conviction, to name a few: losses of family life, of socioeconomic status, of
 employment and career opportunities; diminution of certain civil rights and entitlements;
 and countless humiliations and indignities commonly associated with living in
 confinement”).

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               3.     Mr. Jean-Pierre Is 60 Years Old.

        Because Mr. Jean-Pierre is older, he presents less risk of recidivism and is unlikely

 to reoffend and, thus, poses no danger to the public. “Age ... may be relevant in

 determining whether a departure is warranted, if considerations based on age, individually

 or in combination with other characteristics, are present to an unusual degree” and “may

 be a reason to depart downward in a case in which the defendant is elderly and infirm.”

 U.S.S.G. § 5H1.1. Although Mr. Jean-Pierre’s age may not qualify him for a downward

 departure, it should be considered by this Court with regard to a possible variance.8

 Furthermore, considering the fact that Mr. Jean-Pierre’s life expectancy is approximately

 75.8 years (see United States v. Prevatte, 66 F.3d 840, 849 (7th Cir.1995); Judge Norgle

 concurring), if the 60-year old Mr. Jean-Pierre were to be given a sentence that would keep

 him incarcerated for 15 years, it may well be a life sentence, while a 120 month sentence

 would keep Mr. Jean-Pierre incarcerated for two-thirds of his remaining natural life-

 expectancy.

               4.     Prison Time Is More Significant for a First Offender Who Has Not
                      Previously Been Incarcerated.



        8
            This is a valid sentencing consideration. See United States v. Smith, 275
 Fed.Appx. 184, 187-88 (4th Cir.2008) (the defendant’s 24-month sentence for possession
 of child pornography was not unreasonably lenient; although the sentence was below the
 sentencing guidelines range of 78 to 97 months, the court’s statement of reasons for the
 sentence expressly acknowledged the seriousness of the offense, against which it
 counterbalanced the defendant’s personal characteristics such as his age, lack of criminal
 history, low risk of recidivism and positive role in his family and his community) and United
 States v. Carmona-Rodriguez, 2005 WL 840464, at *4 (S.D.N.Y.) (“[t]wo recent [district]
 courts have declined to impose Guidelines sentences on defendants who, like [this
 defendant], were over the age of forty on the grounds that such defendants exhibit
 markedly lower rates of recidivism in comparison to younger defendants;” citations
 omitted).

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        Mr. Jean-Pierre had never been imprisoned prior to his arrest related to this case.

 This and his related misdemeanor convictions in New York are his first criminal convictions

 and the first time he has been facing incarceration. Therefore, the prison time that he may

 be required to serve would be more significant to him than it would have been had he been

 previously incarcerated for any significant period of time.9 Furthermore, a significant and

 long potential prison sentence has weighed heavily on him and has acted and will continue

 to act as a serious deterrent to prevent him from committing new crimes in the future.

               5.     Mr. Jean-Pierre’s Pretrial Confinement.

        Mr. Jean-Pierre was confined in the GEO immigration facility for 505 days.

 Confinement in this facility is generally considered more difficult and harsher than

 confinement in a Bureau of Prisons facility. This Court may consider the harshness of Mr.

 Jean-Pierre’s pretrial and presentence confinement at the GEO immigration facility.10

               6.     The Need to Avoid Unwarranted Sentence Disparities.

        18 U.S.C. § 3553(a)(6) dictates that, in determining the sentence to be imposed, a


        9
          This is a valid sentencing consideration. See United States v. Collington, 461 F.3d
 805 (6th Cir.2006) (in a drugs and gun case where the guidelines range was 188-235
 months, a sentence of 120 months was affirmed in part because “the district court found
 that, despite [the defendant’s] criminal history being at a IV, ‘[the defendant] has never
 been in custody for any substantial period of time,’ having only been imprisoned for seven
 months before this crime”) and United States v. Qualls, 373 F. Supp.2d 873, 877 (E.D.
 Wis. 2005) (“[g]enerally, a lesser period of imprisonment is required to deter a defendant
 not previously subject to lengthy incarceration than is necessary to deter a defendant who
 has already served serious time yet continues to re-offend”).
        10
           This is a valid sentencing consideration. See United States v. Carty, 264 F.3d
 191, 196 (2nd Cir.2001) (“we hold today that pre-sentence confinement conditions may in
 appropriate cases be a permissible basis for downward departures”) and United States v.
 Pressley, 345 F.3d 1205 (11th Cir.2003) (where defendant spent six years in presentence
 confinement, of which five years were in 23-hour a day lockdown and where he had not
 been outside in five years, district court erred in holding that departure was not available).

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 court must consider, inter alia, “the need to avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct ...” Thus,

 although “the purpose of the Guidelines is not to eliminate disparities among co-

 defendants, but rather to eliminate disparities among sentences nationwide,” a district court

 nonetheless “may consider sentencing disparities between co-defendants ...” United States

 v. Zapata, 546 F.3d 1179, 1194 (10th Cir. 2008), cert. denied, 556 US 1214 (2008).

        The main co-conspirators, William Sears and Scott Dittman, plead guilty pursuant

 to plea agreements in Case No. 16-cr-00301 to conspiracy in violation of 18 U.S.C. § 371.

 This charge carries a statutory maximum sentence of five years.11 Both were scheduled

 to be sentenced on July 11, 2019, the day after Mr. Jean-Pierre’s sentencing hearing on

 July 10, 2019; however, Mr. Dittman has been granted a continuance of his sentencing and

 his new sentencing date has not yet been set.

        In order to avoid a disparity in sentences between these three co-conspirators and

 to avoid penalizing Mr. Jean-Pierre for exercising his constitutional right to go to trial, the

 Court should not sentence Mr. Jean-Pierre to anything more than five years.

               7.     Imperfect Entrapment.

        With regard to the sting operation in Florida, Mr. Jean-Pierre was the target of

 aggressive encouragement by cooperating co-conspirator Sears and agents. In one case,

 even though a defendant was not entrapped in a legal sense, the court appropriately

 departed downward under § 5K2.12 where the trial court was, in part, troubled by

 “aggressive encouragement of wrongdoing [by the informer].” United States v. Garza-


        11
          Sears also plead guilty to a tax count carrying maximum statutory sentence of
 three years.

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 Juarez, 992 F.2d 896, 910-912 & n. 2 (9th Cir.1993). 12

           B.     The Need for the Sentence Imposed to Reflect the Seriousness of the
                  Offense, to Promote Respect for the Law and to Provide Just
                  Punishment, Afford Adequate Deterrence and Protect the Public.

           A below-guideline sentence can be fashioned to adequately reflect the seriousness

 of the offense and promote respect for the law. This Court should consider a below-

 guidelines sentence because it accounts for Mr. Jean-Pierre’s real offense conduct here

 and for Mr. Jean-Pierre as an individual. As Attorney General Eric Holder stated in his April

 5, 2013 speech delivered at the 15th Annual National Action Network Convention,

           Too many people go to too many prisons for far too long for no good law
           enforcement reason. It is time to ask ourselves some fundamental questions
           about our criminal justice system. Statutes passed by legislatures that
           mandate sentences, irrespective of the unique facts of an individual case,
           too often bear no relation to the conduct at issue, breed disrespect for the
           system, and are ultimately counterproductive. It is time to examine our
           systems and determine what truly works. We need to ensure that
           incarceration is used to punish, to rehabilitate, and to deter – and not simply
           to warehouse and forget.

 Given the circumstances presented in Mr. Jean-Pierre’s case, a below-guidelines sentence

 would be sufficient to promote respect for the law, punish Mr. Jean-Pierre, deter Mr. Jean-

 Pierre from re-offending, deter the public and would be equally sufficient to protect the

 public.



           12
           This is a valid sentencing consideration. See United States v. McClelland, 72
 F.3d 717 (9th Cir.1995) (the district court properly departed downward 6 levels for
 imperfect entrapment under § 5K2.12 even though the defendant initiated the plan) and
 District Court: United States v. Panduro, 152 F.Supp.2d 398 (S.D.N.Y. 2001) (in reverse
 sting operation, the defendant was granted a three-level downward departure under App.
 Note 15 “to adjust for the artificially low price of the [35 kilos] of cocaine resulting from the
 overly generous credit terms [proposed by the government] – “if [the agent] had not
 extended credit for half the purchase price...defendants [would have only purchased half
 the amount” the extension of credit was “unreasonable and below market”).

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        Furthermore, a below-guidelines sentence does not minimize the seriousness of the

 offense. As the Supreme Court noted in Gall, “[o]ffenders on probation are nonetheless

 subject to several standard conditions that substantially restrict their liberty.” Gall v. United

 States, 552 U.S. 38, 48 (2007), citing, United States v. Knights, 534 U.S.112, 119 (2001).

 Probation is not a free ride:

        Probationers may not leave the judicial district, move, or change jobs without
        notifying, and in some cases receiving permission from, their probation
        officer or the court. They must report regularly to their probation officer,
        permit unannounced visits to their homes, refrain from associating with any
        person convicted of a felony, and refrain from excessive drinking. U.S.S.G.
        § 5B1.3. Most probationers are also subject to individual “special conditions”
        imposed by the court. Gall, for instance, may not patronize any
        establishment that derives more than 50% of its revenue from the sale of
        alcohol, and must submit to random drug tests as directed by his probation
        officer.

 Gall, 552 U.S. at 48. If the Court believes that additional conditions are appropriate and/or

 necessary, they can be addressed through the imposition of additional special conditions

 of probation. The seriousness of this offense, when viewed in the full context of the history

 and characteristics of Mr. Jean-Pierre, is sufficiently addressed with a below-guidelines

 sentence.

        C.     Cost of Lengthy Incarceration to Taxpayers.

        Because a below-guidelines sentence is not necessary in Mr. Jean-Pierre’s case,

 the Court should consider the cost of incarcerating him in determining his appropriate

 sentence. This is a legitimate consideration in sentencing. As one court has stated:

        Given that holding a person in federal prison costs about $23,000 per year,
        the 61-year-sentence the court is being asked to impose in this case will cost
        the taxpayers (even assuming [the defendant] receives good time credit and
        serves ‘only’ 55 years) about $1,265,000. Spending more than a million
        dollars to incarcerate [the defendant] will prevent future crimes by him and
        may well deter some others from being involved with drugs and guns. But

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        that money could also be spent on other law enforcement or social programs
        that in all likelihood would produce greater reductions in crime and
        victimization.

 United States v. Angelos, 345 F.Supp.2d 1227 (D. Utah 2004). As another court put it,

        [the defendant] has a life expectancy of seventy-eight years. That means
        that [the defendant] will probably spend thirty-five years in federal prison. It
        costs the United States government and its taxpayers approximately $22,000
        per year to keep a federal offender in prison. Therefore, it will cost the
        taxpayers $836,000 for his incarceration. This sentence is a waste of time,
        money, and more importantly, a man’s life. These unwise Sentencing
        Guidelines put nonviolent offenders in prison for years, they ruin the lives of
        the prisoners, their families, and they also hurt our economy and our
        communities by draining billions of dollars from the taxpayers and keeping
        potentially productive members of society locked up. The opportunity costs
        imposed by the Sentencing Guidelines are staggering.

 United States v. Chavez, 230 F.3d 1089, 1092 (8th Cir. 2000) (Bright, J., concurring).13

        The costs of incarceration have only increased; Probation has estimated that it now

 costs $36,300 per year to incarcerate a federal prisoner in the B.O.P. (ECF # 225, P.S.I.R.

 at ¶ 144, pg.31.) Rather than keeping Mr. Jean-Pierre locked up for an extensive period

 of time, the money saved by a sentence to probation could be much better spent

 elsewhere.

 III.   Mr. Jean-Pierre’s Requested Sentence.

        In considering the totality of the circumstances of Mr. Jean-Pierre’s history and

 characteristics, a below-guidelines sentence is appropriate. As one court has stated:

        Rehabilitation is also a goal of punishment. 18 U.S.C. § 3553(a)(2)(D). That
        goal cannot be served if a defendant can look forward to nothing beyond
        imprisonment. Hope is the necessary condition of mankind, for we are all
        created in the image of God. A judge should be hesitant before


        13
           But see, United States v. Tapia-Romero, 523 F.3d 1125 (9th Cir.2008) (“§
 3553(a) neither requires, nor allows, a court to consider the cost of imprisonment in
 determining the appropriate length of a defendant’s term of imprisonment”).

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        sentencing so severely that he destroys all hope and takes away all
        possibility of useful life. Punishment should not be more severe than that
        necessary to satisfy the goals of punishment.

 United States v. Carvajal, 2005 WL 476125, *6 (S.D. N.Y.) (unpublished) (emphasis

 added). In Mr. Jean-Pierre’s case, a below-guidelines sentence of 5 years or less is

 sufficient to satisfy the goals of punishment and all other sentencing goals. It is anticipated

 that Mr. Jean-Pierre, in his statement to the Court at the sentencing hearing, will request

 a sentence to time served.

        WHEREFORE, Mr. Jean-Pierre requests that this Court sentence him to a below-

 guidelines sentence of five years or less.

        DATED this 26th day of June, 2019.

                                                     Respectfully submitted,

                                                     s/Clifford J. Barnard

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of June, 2019, I electronically filed the foregoing

 Defendant Jean-Pierre’s Motion for Below-Guidelines Sentence with the Clerk of the Court

 using the CM/ECF system which will send notification of such filing to the following e-mail

 address(es):

        A.U.S.A. Jeremy Sibert               jeremy.sibert@usdoj.gov


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 and I hereby certify that I have mailed or served the document or paper to the following non

 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-

 participant’s name:

        Guy Jean-Pierre                            Via email
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        Independence House South
        2765 S. Federal Blvd.
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                                                   s/Clifford J. Barnard

                                                   Clifford J. Barnard
                                                   Attorney for Defendant Jean-Pierre




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